Case: 1:22-cv-00084-MWM Doc #: 28 Filed: 03/10/22 Page: 1 of 1 PAGEID #: 2034




 SENDER: COMPLETE THIS SECTION
 •   Complete Items 1, 2, and 3.
 •   Print your name and address on the reverse                                                                          Agent
     so that we can return the card to you.                                                                          D   Addressee -

 •   Attach this card to the back of the mailpiece,
     or on the front if space permits.
 1. Article Addressed to:                                         D. Is delive address different from item 1?        D Y~s
                                                                     If YES, enter delivery address below:           [ff'No
 lT6 ~..,es C. S/,·I~
  /Oo B~rf/e 'Sf, Sk. 3 o /
  f.lur/hu,/            7,.,/~
                  FL 3Z.SL/tf                                          [,'/),
                                                              ~==~~======
                                                                     •
                                                              3 . Service Type                               Priority Mall Express®
                                                                                                         •   Registered Mail™
     1111111111111111111111111111111111111111111111           g   ~~:i~;~=J: ReS tricted Dellve~
                                                                                                         •
                                                                                                         •
                                                                                                             Re~istered Mail Restricted
                                                                                                             Dehve~
       9590 9402 5838 0038 4257 98                            D Certified Mall Restricted Delive~            Retum Receipt for
                                                                                                             Merchandise
- - - - - - - -- - - - - - - - -- - - - - - 1 •                 Collect on Dellve~
                                                                                                         •
 2. Article Number (Transfer from service label)              • Collect on Delive~ Restricted Delive~
                                                                                                         •
                                                                                                             Signature ConfirmatioA™
                                                              • Insured Mall                                 Signature Conflr_lnation
 iso '2,.. '10,!,.,.        9 !:> (
                            ;) ,;)
                                      ""'S"°2..2o2.
                                      (.J.J
                                                    J-,   6   • Insured Mall Restricted Dellve~
                                                                (over $500)
                                                                                                             Restriofed Delive~

 PS Form   3811, July 2015 PSN 7530-02-000-9053                                                         Domestic Ret~             "'
